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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                   10/15/2020

 Mehmet Emre Ergin,

                          Plaintiff,
                                                                                 20-cv-4594 (AJN)
                    –v–
                                                                                      ORDER
 8th Hill Inc., et al.,

                          Defendants.



ALISON J. NATHAN, District Judge:

        Pursuant to Rule 3.L of this Court’s Individual Practices in Civil Cases, the Plaintiff shall

serve a copy of his motion for default judgment and all supporting documents on the Defendants

and file an affidavit of service on ECF within fourteen days of filing the motion for default

judgment. The Court will not consider the motion for default judgment until such affidavit of

service is filed.


        SO ORDERED.


Dated: October 15, 2020                             __________________________________
       New York, New York                                    ALISON J. NATHAN
                                                           United States District Judge
